                                                                NOT PRECEDENTIAL

                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 ___________

                                       No. 23-1614
                                       __________

                                   VIVIAN MARTIN,
                                             Appellant

                                             v.

                              THE BOEING COMPANY,
                                    d/b/a Boeing
                       ____________________________________

                     On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                         (D.C. Civil Action No. 2-20-cv-05401)
                      District Judge: Honorable Paul S. Diamond
                      ____________________________________

                  Submitted Pursuant to Third Circuit L.A.R. 34.1(a)
                                  August 20, 2024
              Before: JORDAN, PHIPPS, and NYGAARD, Circuit Judges

                            (Opinion filed: August 21, 2024 )
                                     ___________

                                        OPINION *
                                       ___________

PER CURIAM




*
 This disposition is not an opinion of the full Court and pursuant to I.O.P. 5.7 does not
constitute binding precedent.
       Pro se Appellant Vivian Martin alleged in her complaint that Defendant The

Boeing Company (“Boeing”) subjected her to racial discrimination in violation of 42

U.S.C. § 1981, and racial and religious discrimination, retaliation, and a hostile work

environment in violation of Title VII of the Civil Rights Act of 1964 and the

Pennsylvania Human Relations Act (“PHRA”). Martin identified herself as a black,

African-American, practicing Muslim, having converted to Islam in 2011. She has been

continuously employed by Boeing from 1993 to the present.

       Martin was promoted to a Level 2 position in 2002 and a Level 3 position in 2007.

The crux of her complaint is that this was the last time that she received a promotion.

She alleged that she unsuccessfully applied for the following Level 4 positions: Human

Resources First Line Manager in April 2019; Global Diversity and Inclusion Manager in

September 2019; First Line Fact Finding Manager in December 2019; Senior Corporate

Investigator in February 2020; and an Ethics and Compliance position in February 2020.

She attributed her lack of success to her managers’ alleged “favoritism toward white

employees,” and claimed that they created a hostile work environment. Since filing her

lawsuit, Martin has moved to a different business unit within Boeing where she loves

working with her manager and the peers that she has there.

       Martin dual-filed a claim with the Pennsylvania Human Relations Commission

and the U.S. Equal Employment Opportunity Commission (“EEOC”). In it, she alleged

discrimination on the basis of her race, sex, religion, retaliation, and age. Martin asserted

that she was denied the HR First Line Manager position on April 4, 2019, and filed her

EEOC charge on March 24, 2020. In light of these dates, the District Court dismissed

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Martin’s Title VII and PHRA claims related to this position because they were time-

barred under the 300-day statute of limitations for such claims. See 42 U.S.C. § 2000e-

5(e)(1); 43 P.S. § 959(h). It also dismissed her claims regarding the Global Diversity and

Inclusion Manager position due to Martin’s failure to exhaust her administrative

remedies, as she did not include this position in her EEOC charge. Following discovery,

Boeing filed a motion for summary judgment, which the District Court granted. This

appeal timely followed.

       We have jurisdiction pursuant to 28 U.S.C. § 1291. We exercise plenary review

over the District Court’s grant of summary judgment, applying the same standard as the

District Court, and we may affirm on any basis supported by the record. See Blunt v.

Lower Merion Sch. Dist., 767 F.3d 247, 265 (3d Cir. 2014). “Summary judgment is

appropriate only where, drawing all reasonable inferences in favor of the nonmoving

party, there is no genuine issue as to any material fact and . . . the moving party is entitled

to judgment as a matter of law.” Ruehl v. Viacom, Inc., 500 F.3d 375, 380 n.6 (3d Cir.

2007) (internal quotation and citation omitted).

       The District Court determined that Martin abandoned her claims with respect to

the HR First Line Manager, Global Diversity and Inclusion Manager, and Senior

Corporate Investigator positions, as she did not address them in her opposition to

summary judgment. In its analysis of the discriminatory failure-to-promote claims

regarding the other two positions, the District Court noted the following:

          -   Martin only addressed the First Line Fact Finding Manager position with
              specificity;


                                              3
          -   Boeing appeared to concede that Martin could make a prima facie case for
              failure-to-promote as to this position, and proceeded to the next step of the
              framework by claiming that it had a legitimate reason for selecting Amy
              Chitwood for the position rather than Martin, namely that Chitwood was
              more qualified;

          -   Chitwood became a Level 5 HR business partner in 2017, while Martin was
              a Level 3 employee whose supervisor had not recommended her for the job;

          -   Martin did not address the issue of pretext, and instead alleged without
              evidence that she was not selected for an interview in 2019 because in 2012
              a senior manager named Melissa Freas told her that she would never be
              promoted; and

          -   Martin failed to present any evidence in support of an argument under the
              mixed-motive theory.

       In light of these facts, the District Court concluded that Martin failed to present an

employment discrimination failure-to-promote claim as to the First Line Fact Finding

Manager position. See Makky v. Chertoff, 541 F.3d 205, 214 (3d Cir. 2008) (citing

McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973)); Tex. Dep’t of Cmty.

Affs. v. Burdine, 450 U.S. 248, 254 (1981). Turning to the Ethics and Compliance

position, the District Court noted that the position was eliminated before a hiring decision

was made. It determined that although Martin mentioned this position in her opposition

to summary judgment, the reference was in relation to a 2018 opening filled by a

different employee rather than Martin’s own unsuccessful attempt to secure the position

in 2020. Consequently, the District Court determined that Martin appeared to abandon

her failure-to-promote claim as to this position. Nevertheless, the District Court

determined that even if this were not so, Martin failed to establish a case for

discriminatory failure-to-promote under either of the pretext or mixed motive theories.



                                              4
       As to Martin’s retaliation claims, the District Court again only addressed the First

Line Fact Finding Manager and Ethics and Compliance positions. It concluded that

Martin failed to establish a prima facie case of retaliatory failure-to-promote as there was

no evidence of causation. See Moore v. City of Phila., 461 F.3d 331, 340–41 (3d Cir.

2006). It further noted that even were this not so, Boeing had legitimate reasons for not

selecting Martin for these positions, as discussed above, and she failed to show any

evidence of pretext.

       With respect to other adverse employment actions alleged by Martin, the District

Court concluded that all but one of the alleged actions occurred before May 29, 2019—

the cutoff date under the 300-day statute of limitations and Martin’s EEOC charge filing

date—and were therefore time-barred. The District Court presumed that the last of the

referenced actions—the assignment of a new supervisor and a change in assignment from

the Fact Finding unit to the Wellness unit—occurred within the appropriate timeframe

but determined that the action did not qualify as “adverse” because Martin was not

demoted, did not suffer a pay cut, and was not asked to do work that was demeaning or

less valued. Consequently, the District Court concluded that Martin failed to present a

prima facie case regarding this issue.

       As for Martin’s hostile work environment claim, the District Court concluded that

it was time-barred as Martin did not demonstrate that any of the alleged incidents

occurred after the relevant cutoff date. Furthermore, the District Court noted that even if

it ignored the issue of timeliness, Martin failed to present evidence of actionable

wrongdoing. See Caver v. City of Trenton, 420 F.3d 243, 262 (3d Cir. 2005) (noting that

                                             5
“offhand[] comments and isolated incidents (unless extremely serious) are not sufficient

to sustain a hostile work environment claim”).

       For these reasons, the District Court granted summary judgment in favor of

Boeing. In her brief, Martin does not present legal arguments challenging the District

Court’s reasoning, and instead reiterates her claims. Moreover, she does not argue

against the District Court’s conclusions regarding the abandonment of some of her

claims. 1

       Upon review, we concur with the District Court’s conclusions for the reasons that

it provided. Accordingly, we will affirm the judgment of the District Court. We also

deny Martin’s motions seeking permission for new discovery and to introduce evidence

of counsel’s refusal of representation.




1
  Any challenge to these conclusions is therefore forfeited. See Barna v. Bd. of Sch. Dirs.
of Panther Valley Sch. Dist., 877 F.3d 136, 147 (3d Cir. 2017); see also Laborers’ Int’l
Union of N.A., AFL-CIO v. Foster Wheeler Corp., 26 F.3d 375, 398 (3d Cir. 1994)
(noting that an issue is forfeited “unless a party raises it in its opening brief, and for those
purposes a passing reference to an issue . . . will not suffice to bring that issue before this
court.”) (internal citation removed).
                                               6
